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AD 245B (CASDRev. 08113) Judgment in a Criminal Case
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                                      UNITED STATES DISTRICT Co                                               FEB 22 20t6
                                           SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                                JUDGMENT IN A C
                                 v.
              ANDRE LAMONT SWEATT (2)
                                                                        Case Number:        lSCR073S-GPC

                                                                     GERARD J. WASSON
                                                                     Defendant's Attorney
REGISTRATION NO.                 49335298


THE DEFENDANT:
IZI pleaded guilty to count(s)          1 of the Information.
                                       -----------------------------------------------------------
      was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                      Count
Title & Section                       Nature of Offense                                                              Numberlsl
18: I 029(a)(3),(c)(1 )(A)(i)         Possession of fifteen or more counterfeit or unauthorized access                     1
                                      devices.




     The defendant is sentenced as provided in pages 2 through    ____--:...___ of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
D     The defendant has been found not guilty on count(s)

D     Count(s)                                                  is         dismissed on the motion of the United States.

IZI   Assessment: $100.00.



IZI   Fine waived               D Forfeiture pursuant to order filed                                           , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                     February 19,2016



                                                                     HON. GONZALO P. CURIEL
                                                                     UNITED STATES DISTRICT JUDGE



                                                                                                                   15CR0735-GPC
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                                                      IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 3 months.




           Sentence imposed pursuant to Title 8 USC Section 1326(b).
 I::?l     The court makes the following recommendations to the Bureau of Prisons:
           Designation to the Mid-Atlantic Region, FCI Petersburg, Virginia.




           The defendant is remanded to the custody of the United States Marshal.

 o         The defendant shall surrender to the United States Marshal for this district:
           o       at
                        ------------------ A.M.                    on
                                                                        ------------------------------------
           o       as notified by the United States Marshal.

           The defendant shall surrender for service of sentence at the institution designated by the Bureau of
           Prisons:
           I::?l   on or before April 1, 2016 12:00 PM.
           o       as notified by the United States Marshal.
                   as notified by the Probation or Pretrial Services Office.

                                                            RETURN
 I have executed this judgment as follows:

           Defendant delivered on
                                    ------------------------- to ------------------------------
 at
         ----------------------- , with a certified copy of this judgment.

                                                                        UNITED STATES MARSHAL



                                          By                    DEPUTY UNITED STATES MARSHAL



                                                                                                       15CR0735-GPC
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                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
3 years.



     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within IS days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
o         substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     1)  the defendant shall not lcave the judicial district without the permission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and fo 1I0w the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, tmining, or other acceptable
         reasons;
     6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances arc illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted ofa felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
         with such notification requirement.



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                              SPECIAL CONDITIONS OF SUPERVISION

   1. Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period
      of 7 months. (punitive)

   2. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing
      and counseling, as directed by the probation officer. Allow for reciprocal release of information between
      the probation officer and the treatment provider. May be required to contribute to the costs of services
      rendered in an amount to be determined by the probation officer, based on ability to pay.

   3. Participate in a program of mental health treatment as directed by the probation officer, take all
      medications as prescribed by a psychiatrist/physician, and not discontinue any medication without
      permission. The court authorizes the release of the presentence report and available psychological
      evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal
      release of information between the probation officer and the treatment provider. May be required to
      contribute to the costs of services rendered in an amount to be determined by the probation officer, based
      on ability to pay.

   4. Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation
      Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
      or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
      revocation; the defendant shall warn any other residents that the premises may be subject to searches
      pursuant to this condition.

   5. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

   6. Resolve all outstanding warrants within 60 days.


    7. Provide complete disclosure of personal and business financial records to the probation officer as
       requested.

   8. Submit your person, property, house, residence, vehicle, papers, computer, electronic communications or
      data storage devices or media, and effects to search at any time, with or without a warrant, by any law
      enforcement or probation officer with reasonable suspicion concerning a violation of a condition of
      probation/supervised release or unlawful conduct, and otherwise in the lawful discharge of the officer's
      duties. 18 U.S.C. §§ 3563 (b)(23); 3583 (d)(3).

    9. Not associate with, or have any contact with any sex offenders unless in an approved treatment and/or
       counseling setting.




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     10. Not have contact with any child under the age of 18, unless in the presence of a supervising adult (who
         is aware of the defendant's deviant sexual behavior and conviction), and with the prior approval ofthe
         probation officer.


     11. Not accept or commence employment or volunteer activity without prior approval of the probation
         officer, and employment should be subject to continuous review and assessment by the probation
         officer.

     12. Not loiter within 200 yards of a school, schoolyard, playground, park, amusement center/park, public
         swimming pool, arcade, daycare center, carnival, recreation venue, library and other places frequented
         by persons under the age of 18, without prior approval of the probation officer.


     13. Not possess any materials such as videos, magazines, photographs, computer images or other matter that
         depicts "sexually explicit conduct" involving children and/or adults, as defined by 18 U.S.C. § 2256(2);
         and not patronize any place where such materials or entertainment are available.


     14. Reside in a residence approved in advance by the probation officer, and any changes in residence shall
         be pre-approved by the probation officer.

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